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                   UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN
                         DETROIT DIVISION


TAYLOR MONICQUE MARSHALL,
                                             CIVIL COMPLAINT
             Plaintiff,

v.                                           CASE NO. 2:18-cv-10687

PALMER RECOVERY ATTORNEYS,
PLLC f/k/a LAW OFFICES OF     DEMAND FOR JURY TRIAL
PALMER, REIFLER & ASSOCIATES,
PLLC,

             Defendant.


                                  COMPLAINT

        NOW comes TAYLOR MONICQUE MARSHALL (“Plaintiff”), by and

through her attorneys, Sulaiman Law Group, Ltd. (“Sulaiman”), complaining as to

the conduct of PALMER RECOVERY ATTORNEYS, PLLC f/k/a LAW OFFICES

OF PALMER, REIFLER, & ASSOCIATES, PLLC (“Defendant”), as follows:

                              NATURE OF THE ACTION

     1. Plaintiff brings this action for damages pursuant to the Telephone Consumer

Protection Act (“TCPA”) under 47 U.S.C. §227 et seq. and the Michigan

Occupational Code (“MOC”) under M.C.L. §339.901 et seq. for Defendant’s

unlawful conduct.

                             JURISDICTION AND VENUE
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      2. This action arises under and is brought pursuant to the TCPA. Subject matter

jurisdiction is conferred upon this Court by 47 U.S.C §227, 28 U.S.C. §§1331 and

1337, as the action arises under the laws of the United States. Supplemental

jurisdiction exists for the state law claim pursuant to 28 U.S.C. §1367.

      3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant

conducts business in the Eastern District of Michigan and a substantial portion the

events or omissions giving rise to the claims occurred within the Eastern District of

Michigan.

                                        PARTIES

      4. Plaintiff is a 20 year old natural “person,” as defined by 47 U.S.C. §153(39),

residing at 3441 Corner Stone Boulevard, Detroit, Michigan, which lies within the

Eastern District of Michigan.

      5. Defendant “is a leading civil recovery law firm in the loss prevention/asset

protection industry.”1 Defendant is a professional limited liability company

organized under the laws of the state of Florida with its principal place of business

located at 1900 Summit Tower Boulevard, Suite 600, Orlando, Florida.

      6. Defendant is a “person” as defined by 47 U.S.C. §153(39).




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    http://www.pralawfirm.com/

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   7. Defendant acted through its agents, employees, officers, members, directors,

heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives

and insurers at all times relevant to the instant action.

                      FACTS SUPPORTING CAUSES OF ACTION

   8. In approximately the fall of 2015, Plaintiff began receiving calls to her

cellular phone, (313) XXX-8336, from Defendant.

   9. At all times relevant to the instant action, Plaintiff was the sole subscriber,

owner, and operator of the cellular phone ending in 8336. Plaintiff is and always

has been financially responsible for the cellular phone and its services.

   10.Defendant has used several different phone numbers when placing calls to

Plaintiff’s cellular phone, including but not limited to (888) 284-3185 and (888) 572-

5637. Upon belief, it has used other numbers as well.

   11. Upon information and belief, the aforementioned phone numbers are

regularly utilized by Defendant during its debt collection activity.

   12. Upon answering phone calls from Defendant, Plaintiff experienced a

recorded message prior to being connected with a live representative.

   13. Upon speaking with Defendant, Plaintiff was informed that it was seeking to

collect upon an outstanding debt (“subject debt”) said to be owed by Plaintiff.

   14. Frustrated with the persistent and incessant nature of Defendant’s phone

calls, Plaintiff demanded that the phone calls stop.


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   15. Despite Plaintiff’s demands, Defendant continued to place repeated calls to

her cellular phone throughout 2017.

   16. Defendant has, on several occasions, placed multiple phone calls to

Plaintiff’s cellular phone on the same day, even after being told to stop calling.

   17. For example, on March 3, 2016, Defendant called Plaintiff at least four times,

with these four calls being placed almost simultaneously.

   18. Plaintiff has received not less than 50 phone calls from Defendant since

asking it to stop calling.

   19. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman

regarding her rights, resulting in expenses.

   20. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

   21. With the goal of specifically addressing Defendant’s conduct, Plaintiff has

expended approximately $62.00 to purchase and maintain an application on her

cellular phone to help quell Defendant’s calls. However, the communications have

continued.

   22. Plaintiff has suffered concrete harm as a result of Defendant’s actions,

including but not limited to, invasion of privacy, aggravation that accompanies

collection telephone calls, emotional distress, increased risk of personal injury

resulting from the distraction caused by the never-ending calls, increased usage of

her telephone services, loss of cellular phone capacity, diminished cellular phone


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functionality, decreased battery life on her cellular phone, and diminished space for

data storage on her cellular phone.


   COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   23. Plaintiff repeats and realleges paragraphs 1 through 22 as though fully set

      forth herein.

   24. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons

on their cellular phone using an automatic telephone dialing system (“ATDS”)

without their consent. The TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS

as “equipment which has the capacity...to store or produce telephone numbers to be

called, using a random or sequential number generator; and to dial such numbers.”

   25. Defendant used an ATDS in connection with its communications directed

towards Plaintiff’s cellular phone. The recorded message that Plaintiff experiences

prior to being connected to a live representative is instructive that an ATDS was

being utilized to generate the phone calls. Moreover, the nature and frequency of

Defendant’s contacts, including placing multiple calls a day in very short succession,

points to the involvement of an ATDS.

   26. Defendant violated the TCPA by placing at least 50 phone calls to Plaintiff’s

cellular phone using an ATDS without her consent. Plaintiff never consented to

receiving any phone calls from Defendant. Any consent that Plaintiff may have

given to the originator of the subject debt, which Defendant will likely assert
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transferred down, was specifically revoked by Plaintiff’s demands that it cease

contacting her.

   27.The calls placed by Defendant to Plaintiff were regarding collection activity

and not for emergency purposes as defined by the TCPA under 47 U.S.C.

§227(b)(1)(A)(i).

   28. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable

to Plaintiff for at least $500.00 per call. Moreover, Defendant’s willful and knowing

violations of the TCPA should trigger this Honorable Court’s ability to triple the

damages to which Plaintiff is otherwise entitled to under 47 U.S.C. § 227(b)(3)(C).

Defendant willfully violated the TCPA. Armed with the knowledge that Plaintiff did

not consent to receive calls to her cellular phone, Defendant continued its incessant

and relentless campaign of collection calls.

   WHEREFORE, Plaintiff, TAYLOR MONICQUE MARSHALL, respectfully

requests that this Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble
      damages pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and
      appropriate.



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        COUNT II – VIOLATIONS OF THE MICHIGAN OCCUPATIONAL CODE

   29.Plaintiff restates and realleges paragraphs 1 through 28 as though fully set

forth herein.

   30.Plaintiff is a “consumer” or “debtor” as defined by M.C.L. § 339.901(f).

   31.Defendant is a “collection agency” as defined by M.C.L. § 339.901(b) as it is

a person that is directly engaged in collecting or attempting to collect a claim owed

or due or asserted to be owed or due another.

   32.The subject debt is a “[c]laim” or “debt” as defined by M.C.L. § 339.901(a)

as it is an obligation or alleged obligation for the payment of money or thing of value

arising out of an agreement or contract for a purchase made primarily for personal,

family, or household purposes.

          a. Violations of M.C.L. § 339.915(f)(ii)

   33.The MOC, pursuant to M.C.L. § 339.915(f)(ii) prohibits a collection agency

from “[m]isrepresenting in a communication with a debtor . . . [t]he legal rights of

the creditor or debtor.”

   34.Defendant violated M.C.L. § 339.915(f)(ii) by repeatedly contacting

Plaintiff’s cellular phone using an automated system absent consent. Through its

conduct, Defendant misrepresented that it had the legal ability to contact Plaintiff

using an automated system after Plaintiff demanded that Defendant stop calling. As

such, Defendant misrepresented its legal rights, as well as Plaintiff’s legal rights to


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have Defendant’s phone calls cease, by continuing to contact Plaintiff’s cellular

phone absent the lawful ability to do so.

         b. Violations of M.C.L. § 339.915(n)

   35.The MOC, pursuant to M.C.L. § 339.915(n), prohibits a collection agency

from “[u]sing a harassing, oppressive, or abusive method to collect a debt, including

causing a telephone to ring or engaging a person in telephone conversation

repeatedly, continuously, or at unusual times or places which are known to be

inconvenient to the debtor.”

   36.Defendant violated the MOC when it continued to call Plaintiff’s cellular

phone at least 50 times after she notified it to stop calling. The repeated and

continuous contacts were made with the hope that Plaintiff would succumb to the

harassing behavior and ultimately make a payment. The nature and volume of phone

calls, including multiple phone calls per day placed in very short succession, would

naturally cause an individual to feel oppressed.

   37.Further, Plaintiff told Defendant that its calls to her cellular phone were not

welcome and were therefore inconvenient. Nevertheless, Defendant continued to

place calls to her cellular phone. As such, Defendant contacted Plaintiff at times and

places which were known to be inconvenient to her.

         c. Violations of M.C.L. § 339.915(q)




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   38. The MOC, pursuant to M.C.L. § 339.915(q), subjects collection agencies to

liability for “[f]ailing to implement a procedure designed to prevent a violation by

an employee.”

   39.Defendant violated the MOC by failing to adequately have procedures in place

designed to prevent a violation by its employee(s). Plaintiff demanded that

Defendant stop calling, yet the calls continued. The fact that calls were allowed to

continue after becoming aware that its calls were not welcome highlights

Defendant’s lack of procedural safeguards in place to prevent a violation by its

employee(s). As such, Defendant has failed to implement procedures designed to

prevent its employees from engaging in harassing, oppressive, or abusive methods

in connection with its collection of debts.

   WHEREFORE, Plaintiff, TAYLOR MONICQUE MARSHALL, respectfully

requests that this Honorable Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate
      the aforementioned statutes and regulations;

   b. Entitling Plaintiff to injunctive relief, pursuant to M.C.L. § 339.916(1).

   c. Awarding Plaintiff actual damages, including treble damages, pursuant to
      M.C.L. § 339.916(2).

   d. Awarding statutory damages of at least $50.00, including treble damages,
      pursuant to M.C.L. § 339.916(2).

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to M.C.L. §
      339.916(2).


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   f. Awarding any other relief as this Honorable Court deems just and
      appropriate.


Dated: February 27, 2018                       Respectfully submitted,

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